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                             EXHIBIT A
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                       Luebbers, Christopher David
                                    January 10, 2023
   Defendants’ objections will be noted in blue highlights in the transcript provided to the
   Court.
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     Transcript               PgFrom           LnFrom            PgTo             LnTo                 Notes            Issues




Luebbers, Christopher                                                                        Calls for legal
David                 34                 22               35                25               conclusions        NS Objection
